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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                  Case No. 18-20818-CIV-GAYLES

   PDVSA US LITIGATION TRUST,

                  Plaintiff,

   v.

   LUKOIL PAN AMERICAS LLC, et al.,

               Defendants.
   _________________________________/

                  UNSERVED AND NONSUBPOENAED DEFENDANTS
            LEONARDO BAQUERO AND FRANCISCO MORILLO’S OBJECTION
        TO THE MAGISTRATE JUDGE’S SECOND AND THIRD DISCOVERY ORDERS *

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          *
             Counsel for Baquero and Morillo has made a limited appearance in this case to (a)
   represent their interests with respect to the Plaintiff’s efforts to obtain a preliminary injunction
   against them and (b) demonstrate that the Court lacks subject matter jurisdiction. In filing this
   Motion, Baquero and Morillo do not waive or intend to waive any arguments, objections,
   defenses, or rights that may be available to them, including as to the insufficiency of service of
   process and this Court’s lack of personal jurisdiction over Baquero and Morillo.
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          Plaintiff PDVSA US Litigation Trust (“Trust”) demands deposition testimony from

   Leonardo Baquero and Francisco Morillo, foreign persons named as defendants in this action

   who are located outside the United States, who have not been served with the summons and

   complaint, and who have not been subpoenaed—and over whom, therefore, this Court lacks

   jurisdiction. Moreover, neither Baquero nor Morillo has any knowledge relevant to Plaintiff’s

   standing, which is the only ground for discovery this Court has granted. The depositions

   Plaintiff seeks thus fall outside this Court’s jurisdiction to compel, run afoul of the Federal Rules,

   and impose undue burden with no material benefit to this Court’s resolution of this case—

   particularly since, under U.S. law and the laws of Mexico and Venezuela, they may not be

   conducted absent compliance with the Hague Evidence Convention.

          The Magistrate Judge nevertheless entered orders compelling Baquero and Morillo’s

   depositions and denying their motion for a protective order. Her rulings, while motivated by a

   desire to faithfully implement this Court’s proper decision to resolve the challenge to Plaintiff’s

   standing as a threshold issue, incorrectly assumed that this Court’s procedural direction, and the

   named Defendants’ agreement to participate in discovery pursuant to it, mooted Baquero and

   Morillo’s jurisdiction- and relevance-based objections. That was clearly erroneous and contrary

   to law: Neither this Court’s decision to allow discovery on standing nor the named Defendants’

   agreement concerning it conferred on this Court the authority to compel deposition testimony

   from unserved and nonsubpoenaed nonparties who are not subject to the Court’s jurisdiction and

   who cannot offer any testimony relevant to standing.           Accordingly, Baquero and Morillo

   respectfully move the Court, pursuant to Federal Rule of Civil Procedure 72(a) and Magistrate

   Judge Rule 4(a)(1), to set aside the parts of the Second and Third Discovery Orders compelling

   Baquero and Morillo’s depositions and denying their motion for a protective order.



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                   STATEMENT OF FACTS AND PROCEDURAL HISTORY

   I.     RELEVANT FACTUAL BACKGROUND

          Leonardo Baquero and Francisco Morillo are among the forty-plus named Defendants

   listed on the operative complaint in the above-captioned case. Neither Baquero nor Morillo was

   involved in the establishment of the Trust or has knowledge concerning its validity.

          Plaintiff has not properly served Baquero or Morillo. With respect to Baquero, Plaintiff

   purports to have attempted service under “Article 10a [sic] of the Hague Convention, return

   receipt/signature required via Fed Ex.” March 30, 2018 Alexander Cuda Affidavit of Service ¶ 3

   (Ex. 1). The attempted service address is identified as “Calle De Alcala 88, Madrid ES, 28009.”

   Id. The service papers were “signed for by” an individual named Carlos Garcia. Id.

          Baquero is not a U.S. citizen, permanent resident, or taxpayer. See May 3, 2018 Decl. of

   Julio Lara ¶¶ 2-3 (Ex. 2). He is a citizen of Venezuela and Spain, maintains his personal

   residence and personal effects in Venezuela, and pays taxes in Venezuela. Id. ¶¶ 2, 4. He

   currently resides in Mexico. Baquero does not reside or own property at the attempted service

   address, or anywhere else in the Kingdom of Spain.         Rather, Baquero’s daughter rents an

   apartment and lives at that address. See Apr. 30, 2018 Decl. of Carlos Garcia ¶¶ 4-5 (Ex. 3);

   May 7, 2018 Decl. of Edson Rodrigues ¶ 2-4 (Ex. 4); May 7, 2018 Decl. of Elba Baquero

   Caranama ¶ 2-3 (Ex. 5).

          With respect to Morillo, Plaintiff purports to have attempted service as follows:

          on 03/12/2018 at 8:13 PM at 1643 Brickell Avenue, Apt. 3302, Miami, FL 33129
          [the “attempted service address”] . . . by delivering . . . a true copy of each to
          ‘Jane Doe’ (refused to give her first and last name), a person of suitable age and
          discretion. Said premises is defendant’s dwelling place/usual place of abode
          within the state. Deponent was accompanied by security, security knocked on the
          door of said premises and a female answered from the other side of the door.
          Security advised her a process server is here for said defendant. She stated the
          defendant was not home and she did not want to open the door. Deponent advised

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          her of the contents he had for Francisco Morillo, announced service and left the
          said documents by the door.

   ECF No. 86. Morillo, however, does not reside or own property at the attempted service address.

   See Apr. 28, 2018 Decl. of Julio Lara (“Lara Decl.”) ¶¶ 2-3 (Ex. 6); May 14, 2018 Decl. of Jason

   Gangwer ¶¶ 3-5 (Ex. 7). Indeed, Morillo does not live in the United States and is not a U.S.

   citizen, permanent resident, or taxpayer. Lara Decl. 2-3 (Ex. 6). He is a citizen of Venezuela and

   France, maintains personal residences and personal effects in Switzerland and Venezuela, and

   pays taxes in Switzerland and Venezuela. Id. ¶¶ 4-5; Geneva Residency Certificate (Ex. 8). He

   currently resides in Mexico.

   II.    PROCEDURAL HISTORY

          Plaintiff initiated this action on March 3, 2018, by filing a sealed Complaint alleging an

   ongoing conspiracy among domestic and foreign companies and individuals relating to the

   energy sector. The Complaint was amended on March 5, 2018, and unsealed on March 8, 2018.

          The Plaintiff Trust purports to assert claims belonging to Petróleos de Venezuela, S.A.

   (“PDVSA”), the Venezuelan national oil company, as an assignee of those claims. On March 29

   and 30, several named Defendants, including Baquero and Morillo, moved for a status

   conference and schedule for limited expedited discovery, briefing, and hearing on whether the

   Plaintiff Trust has standing to bring the claims in this action. ECF Nos. 193, 197. At a hearing

   on April 4, the Court agreed that standing-related discovery is appropriate and should proceed

   before any other activity in this case. See Apr. 4, 2018 Hr’g Tr. at 13-15.

          After meet-and-confers failed to result in agreement among counsel on a schedule for

   discovery concerning the Trust’s standing, the named Defendants filed a motion for an expedited

   discovery order. ECF No. 240, 247 & 248. On April 16, the Court granted Defendants’ request

   for standing-limited discovery and entered a Scheduling Order allowing both Plaintiff and named


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   Defendants to take four fact depositions on the issue of standing. Scheduling Order, ECF No.

   253 at 2. The Court expressly held that Rule 12 defenses are preserved and participation in

   standing-related discovery would not waive them. Id.

          During a meet-and-confer and a telephonic hearing with the Magistrate Judge on April

   25, Plaintiff requested the depositions of Baquero and Morillo. Apr. 25, 2018 Hr’g Tr. 69:3-4. 1

   Counsel for Baquero and Morillo objected immediately based on lack of service, personal

   jurisdiction, and relevance. Id. at 70:10-21. The Court did not issue a ruling, but noted that

   Baquero and Morillo “[i]n a sense, . . . would be testifying not even as parties yet because they

   haven’t been served.” Id. at 74:12-13. During a telephonic hearing on April 30, Plaintiff

   claimed that the good-faith basis for the proposed depositions of Baquero and Morillo involved

   “statements concerning the Trust and its operation and its authorization and formation and how it

   either will or should operate and whether it should be in existence and whether it is authorized or

   not.” Apr. 30, 2018 Hr’g Tr. 24:10-13. Plaintiff did not contend that Baquero or Morillo has

   personal knowledge regarding, or was involved in any way in, the Trust’s formation,

   authorization, or operation. Plaintiff likewise did not identify any basis for believing that such

   statements existed or that they would have any bearing on Plaintiff’s standing. To the contrary,

   Plaintiff’s counsel stated that information “most likely to relate to issues relative to standing such

   as the trust organization and authorization” would pre-date August 8, 2017, the date the Trust

   was established. See id. at 7:17-25. Plaintiff’s counsel did not contend that Baquero or Morillo

   was even aware of the Trust’s existence before the complaint was unsealed seven months later.

          The Magistrate Judge overruled Baquero and Morillo’s objections during the telephonic

   hearing and subsequently memorialized her decision in a written order. See Apr. 30, 2018 Hr’g


          1
              Plaintiff also sought two additional depositions which are not discussed herein.

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   Tr. 29-30; Second Discover Order, ECF No. 355. Baquero and Morillo formally moved for a

   protective order on May 7. ECF No. 362. The Magistrate Judge denied that motion and

   reaffirmed her prior ruling. ECF No. 370. The Order expressly notes that the depositions are

   “subject to compliance with any applicable foreign country regulations, if appropriate.” Id.

          Baquero and Morillo have offered, in place of appearing for depositions, to answer

   written interrogatories limited to the issue of standing. Plaintiff has refused their proposal,

   thereby necessitating the present timely objection.

                                       STANDARD OF REVIEW

          When reviewing a timely filed objection to the Magistrate Judge’s order, this Court “must

   . . . modify or set aside any part of the order that is clearly erroneous or is contrary to law.” FED.

   R. CIV. P. 72(a). “[T]he question of whether service of process was adequate is purely a question

   of law which the Court must resolve.” Intelsat Corp. v. Multivision TV LLC, 736 F. Supp. 2d

   1334, 1341 (S.D. Fla. 2010). Requested discovery must be “relevant . . . and proportional to the

   needs of the case, considering,” inter alia, “the parties’ relative access to relevant information, . .

   . the importance of the discovery in resolving the issues, and whether the burden or expense of

   the proposed discovery outweighs its likely benefit.” FED. R. CIV. P. 26(b)(1). Any person, upon

   a showing of good cause, may obtain from the Court an order to protect the party from

   “annoyance, embarrassment, oppression, or undue burden or expense.” Id. 26(C).

                                              ARGUMENT

   I.     THIS COURT LACKS JURISDICTION TO COMPEL THE DEPOSITIONS OF
          FOREIGN NONPARTIES BAQUERO AND MORILLO
          The Second and Third Discovery Orders are clearly erroneous and contrary to law

   because this Court lacks jurisdiction to compel the depositions of Baquero and Morillo. This

   conclusion follows from the unremarkable application of three sets of straightforward facts to


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   well-established legal principles. First, because there can be no genuine dispute that Baquero

   and Morillo have not been validly served, the Court has no jurisdiction over them. Second, the

   Court did not act pursuant to the only Federal Rule that would confer such jurisdiction, since

   neither Morillo nor Baquero has been validly subpoenaed under Rule 45. Finally, compelling

   depositions of Morillo and Baquero under the Federal Rules is incompatible with the appropriate

   procedures for compelling the depositions of foreign nonparties under the Hague Convention on

   the Taking of Evidence Abroad in Civil or Commercial Matters, Mar. 18, 1970, 23 U.S.T. 2555,

   T.I.A.S. No. 7444 (“Hague Convention”).

          Although Plaintiffs and Defendants agreed to limited discovery concerning the threshold

   issue of Plaintiff’s standing, that agreement in no way obviated Plaintiff’s clear legal obligation

   to effectuate valid service of process, issue and serve a valid subpoena, or apply for a letter of

   request under the governing international convention. Because Plaintiff has not followed any of

   these procedures, the Magistrate Judge erred in compelling the depositions.

          A.      This Court Lacks Jurisdiction Over Baquero And Morillo Because They
                  Have Not Been Properly Served
                  1. A Court Lacks Jurisdiction Over Unserved Persons
          “[A]n individual or entity is not obliged to engage in litigation unless officially notified

   of the action . . . under a court's authority, by formal process.” Prewitt Enters., Inc. v. Org. of

   Petroleum Exp. Countries, 353 F.3d 916, 925 (11th Cir. 2003) (internal quotation marks, citation,

   and alternations omitted) (ellipsis in original).   That is because “[s]ervice of process is a

   jurisdictional requirement: a court lacks jurisdiction over the person of a defendant when that

   defendant has not been served.” Pardazi v. Cullman Med. Ctr., 896 F.2d 1313, 1317 (11th Cir.

   1990). Thus, setting aside other defects in personal jurisdiction (of which there are many in this

   case), this Court lacks authority over a named defendant that has not been validly served.


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   Karakis v. Foreva Jeans Inc., 2009 WL 113456, at *3 (S.D. Fla. Jan. 19, 2009) (“[A]bsent valid

   service of process (or waiver thereof), a court does not have personal jurisdiction over the

   unserved individual (or entity).”). The consequences of proceeding absent such authority are

   grave: Disregarding these “rules of personal jurisdiction” not only discredits the Court’s orders;

   it also denies “an individual’s rights.” Pardazi, 896 F.2d at 1317.

           These principles hold as forcefully in the context of discovery as at any other point in a

   case—indeed, that is often where they are first put to the test. Just as defendants may relinquish

   personal-jurisdiction objections through voluntary “participation in the discovery process,” 5C

   FED. PRAC. & PROC. CIV. § 1391 (3d ed.), valid personal-jurisdiction objections generally protect

   against compulsory participation in the same process, see, e.g., Chavez v. Hagen, 2016 WL

   6538400, at *1-2 (S.D. Fla. Jan. 13, 2016) (explaining that defendants’ refusal to appear at

   depositions was “consistent with their position that service of process was insufficient”). Simply

   put, “[a] defendant that is not subject to the jurisdiction of the court cannot be bound by its

   rulings.” Republic of Pan. v. BCCI Holdings (Lux.) S.A., 119 F.3d 935, 940 (11th Cir. 1997).

           Although the Eleventh Circuit recognizes a “qualified right to conduct jurisdictional

   discovery,” Posner v. Essex Ins. Co., 178 F.3d 1209, 1214 n.7 (11th Cir. 1999) (emphasis added),

   one important qualification is that such discovery is only permitted where a plaintiff has made a

   prima facie case of personal jurisdiction, see Butler v. Sukhoi Co., 579 F.3d 1307, 1314 (11th Cir.

   2009) (“Inasmuch as the complaint was insufficient as a matter of law to establish a prima facie

   case . . . [of] jurisdiction, the district court abused its discretion in . . . granting discovery on the

   jurisdictional issue.”); see also, e.g., Gen-Tran Corp. v. Universal Prod. Concepts, Inc., 2009 WL

   10664931, at *5 (N.D. Ga. Nov. 5, 2009) (denying jurisdictional discovery where plaintiff “has

   not carried its burden of making a prima facie case” of personal jurisdiction). Plaintiff’s mere



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   allegations of a defendant’s personal jurisdiction are insufficient to grant jurisdictional discovery

   where there is no “genuine dispute on a material jurisdictional fact.” Peruyero v. Airbus S.A.S.,

   83 F. Supp. 3d 1283, 1290 (S.D. Fla. 2014). That is particularly true with respect to validity of

   service, given that Plaintiff has or “should have had” all the relevant facts “before coming

   through the courthouse doors” to request a deposition. Thompson v. Carnival Corp., 174 F.

   Supp. 3d 1327, 1339 (S.D. Fla. 2016) (internal quotation marks omitted). 2

          2.      Plaintiff Has Not Properly Served Process On Morillo Or Baquero
          There is no genuine dispute on any material fact concerning Plaintiff’s failure to properly

   serve the summons and complaint on Baquero or Morillo.

          a.      Baquero is not a U.S. citizen, permanent (or even occasional) resident, or

   taxpayer. May 3, 2018 Decl. of Julio Lara ¶ 3 (Ex. 2). Instead, he is a citizen of Venezuela and

   Spain who currently is, and at all times since the filing of this action has been, residing abroad.

   The applicable Federal Rule provides for service abroad in one of three ways: (1) “by any

   internationally agreed means of service that is reasonably calculated to give notice”; (2) by

   means prescribed or not prohibited by the foreign country’s law “if there’s no internationally

   agreed means” or no such means is specified; or (3) by “other means not prohibited by

   international agreement, as the court orders.” FED. R. CIV. P. 4(f).

          Plaintiff represents that it attempted to serve Baquero under “Article 10a of the Hague

   Convention, return receipt/signature required via Fed Ex,” by mailing the summons to a
          2
             Even if there is a genuine dispute on a material fact relating to personal jurisdiction, the
   Court may exercise jurisdiction over named parties properly raising personal-jurisdiction
   challenges only “to the extent necessary to determine whether or not they are subject to personal
   jurisdiction in this forum.” In re Vitamins Antitrust Litigation, 120 F. Supp. 2d 45, 49 (D.D.C.
   2000). Likewise, although real factual questions about Plaintiff’s standing may give rise to
   jurisdictional discovery on that issue, the Court’s jurisdiction to order participation in such
   discovery extends only to named Defendants that have been validly served, since no amount of
   discovery on the standing issue will generate a genuine material-fact dispute concerning the
   insufficiency of service.

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   residential address in Spain. Mar. 30, 2018 Alexander Cuda Aff. of Service ¶ 3 (Ex. 1). Article

   10(a) of the Hague Service Convention provides that “the present Convention shall not interfere

   with . . . the freedom to send judicial documents, by postal channels, directly to persons abroad.”

   Hague Convention on Service Abroad of Judicial and Extrajudicial Documents in Civil or

   Commercial Matters, Nov. 15, 1965, [1969] 20 U.S.T. 361, T.I.A.S. No. 6638 (emphasis added).

   Plaintiff, however, did not send the summons and Complaint “directly to” Baquero: Baquero

   was not present at the attempted service address, does not reside or otherwise maintain a regular

   presence at the attempted service address (or anywhere else in Spain), and never received the

   summons. See Apr. 30, 2018 Decl. of Carlos Garcia ¶¶ 5-6 (Ex. 3). Instead, Carlos Garcia, the

   doorman of the apartment building where Baquero’s daughter lives, received the FedEx package

   and returned it because Baquero “doesn’t live in the building.” Id. ¶ 5.

          Because “the summons and Complaint were delivered to an incorrect address [abroad]

   and the recipient was . . . a non-party which is not authorized to accept service on [Baquero’s]

   behalf,” it is plainly evident that Baquero “was not properly served” under Rule 4(f). Atl.

   Specialty Ins. Co. v. M2 Motor Yachts, 2017 U.S. Dist. LEXIS 16375, at *5 (S.D. Fla. Feb. 3,

   2017). No principle of treaty interpretation permits the phrase “directly to persons abroad” to

   encompass delivery to an incorrect address in a country where the intended recipient has no

   presence, precluding the “internationally agreed means” required under Rule 4(f)(1). Even if the

   plain language of the Convention could be so stretched, such means of service would not be

   “reasonably calculated to give notice.” FED. R. CIV. P. 4(f)(1). Consequently, Baquero has not

   been validly served and this Court lacks jurisdiction to compel his appearance. 3



          3
            Neither Rule 4(f)(2) nor Rule 4(f)(3) allows for a different outcome, given that, in
   relevant part, these subsections respectively insist that the court either address and send the
   papers itself or find that such mailing is not prohibited by international agreement. See FED. R.
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          b.      Morillo also is a foreign citizen with no presence in the United States. Lara Decl.

   ¶ 3 (Ex. 6). But Plaintiff has not even attempted to serve him as required under Rule 4(f).

   Instead, Plaintiff represents that a process server left the summons and Complaint at the door of

   an apartment in Miami, Florida, after an unidentified woman refused to open it. See ECF No. 86.

   Both Federal Rule of Civil Procedure 4(e) and Florida law allow for “leaving a copy . . . at the

   individual’s dwelling or usual place of abode with someone of suitable age and discretion who

   resides there.” FED. R. CIV. P. 4(e)(2)(B); FLA. STAT. § 48.031(1)(a) (substantially similar).

          The property where the papers allegedly were left is neither Morillo’s dwelling nor his

   usual place of abode. Morillo is not the owner of the property located at the attempted service

   address, and he does not maintain a presence there or elsewhere in Miami, in Florida, or in the

   United States. See Apr. 28, 2018 Lara Decl. ¶ 3 (Ex. 6); Geneva Residency Certificate (Ex. 8).

   Rather, he maintains personal residences and personal effects in Venezuela and Switzerland. Id.

   Even a cursory review of the relevant state and federal case law leaves no doubt that service is

   invalid “where the defendant was not actually living at the place where service was made.”

   Shurman v. Atl. Mortg. & Inv. Corp., 795 So. 2d 952, 954–55 (Fla. 2001) (collecting cases where

   courts invalidated service, including, e.g., where defendant owned property where papers were

   delivered to wife but defendant was abroad); see also, e.g., McGee v. Cook, 2011 WL 1365024,

   *3 (M.D. Fla. Apr. 11, 2011) (finding service defective despite delivery to residence of

   defendant’s relative, which defendant used as business address).

          Indeed, this Court has found service to be improper under much closer facts than those at

   bar, including where there was no genuine dispute that the papers reached defendant’s correct


   CIV. P. 4(f)(2), (3). Notwithstanding that the Court took no such action, service under either
   subsection “must be proved . . . by a receipt signed by the addressee, or by other evidence
   satisfying the court that the summons and complaint were delivered to the addressee.” Id.
   4(l)(2)(B) (emphasis added).

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   residential address. For example, this Court held that a plaintiff did not validly effect service by

   sliding the papers under the door of the defendant’s apartment after a woman refused to open it,

   even though the building concierge confirmed that the defendant was in the apartment and

   notified him that the process server was there. Blueskygreenland Envtl. Sols., LLC v. Rentar

   Envtl. Sols,, Inc., 2013 WL 12095152, at *1 (S.D. Fla. Apr. 3, 2013) (finding plaintiff had “no

   way of knowing whether the papers landed in physical proximity to the intended recipient or

   some other person authorized to accept delivery”). There can be no genuine dispute here that

   Plaintiff’s attempted service failed to comply with federal or state law when the process server

   left documents at the closed door of an address that was not Morillo’s dwelling or usual abode,

   where Morillo was not present, and where the process server did not identify the occupant. By

   every legal measure, this Court lacks jurisdiction to compel him to appear at a deposition. 4

          B.      This Court Lacks Jurisdiction Over Baquero And Morillo Because They
                  Have Not Been Properly Subpoenaed
                  1. A Subpoena Is Required To Compel The Deposition Of A Nonparty
          Were there any doubt that this Court lacks jurisdiction to compel the noticed deposition

   of an unserved defendant, the Federal Rules confirm this conclusion by providing a specific

   procedure to obtain jurisdiction in such circumstances.        See FED. R. CIV. P. 45 (subpoena

   process). It is well established that “[a]n individual is not a party to a lawsuit, until such time as

   she is served with process.” Karakis, 2009 WL 113456, at *3 (citing Supreme Court and

   Eleventh Circuit cases). And, as courts in this and other Circuits have recognized, when “a

   prospective deponent is not a party to the litigation, the proper procedure for obtaining the

   jurisdiction necessary to compel attendance is the issuance of a subpoena pursuant to Federal


          4
            These facts preclude service under Rule 4(e)(1) and Rule 4(e)(2)(B), and Plaintiff has
   not (and cannot) allege that service was made by delivery to Morillo himself or his agent, as
   would be required for valid service under Rule 4(e)(2)(A) or Rule 4(e)(2)(C).

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   Rule of Civil Procedure 45.” McKinstry v. Ikon Office Sols., Inc., 2006 WL 8432450, at *2 (N.D.

   Ga. Aug. 10, 2006) (internal quotation marks and citation omitted).         Absent a subpoena,

   therefore, this Court may not compel the deposition of a nonparty.

          This Court consistently and scrupulously follows this rule. In Karakis v. Foreva Jen Inc.,

   for example, where an individual was not properly served though he was a named defendant and

   was alleged to be a trustee of a defendant trust that had received valid service, this Court held

   that “he is a non-party, and, therefore, he cannot be compelled to appear for deposition absent a

   subpoena.” 2009 WL 113456, at *3.          Several other cases stand for the same conclusion:

   “Without doubt, a non-party who does not voluntarily agree to attend a deposition must be

   subpoenaed.” Hamilton Grp. Funding, Inc. v. Basel, 2017 WL 7726732, at *1 (S.D. Fla. July 20,

   2017); see also, e.g., W. Coast Life Ins. Co. v. Life Brokerage Partners, LLC, 2009 WL 2058800,

   at *3 (S.D. Fla. July 15, 2009) (“The depositions Defendants seek [of nonparty employees of

   corporate plaintiff] cannot be compelled without a subpoena); Parrot, Inc. v. Nicestuff

   Distributing Int’l, Inc., 2009 WL 197979 (S.D. Fla. Jan. 26, 2009).

                  2. Neither Baquero Nor Morillo Has Been Properly Subpoenaed
          Neither Baquero nor Morillo has been served with a valid subpoena under Rule 45.

   Plaintiff issued sixty subpoenas directed to Defendants, including Baquero and Morillo, relating

   to a hearing before this Court on April 4, 2018. See ECF 192. Following motions by all named

   Defendants to quash the subpoenas on the basis that the subpoenas “are both improper and

   deficient,” ECF 192, at 2, the Magistrate Judge granted the motions and entered a protective

   order, ECF 251. Plaintiff has not issued any other subpoena on Baquero or Morillo.

          Because “[a] subpoena is required to compel the attendance of a non-party at a

   deposition,” the Magistrate Judge lacked authority under the Federal Rules to compel their

   depositions. Hamilton Group Funding, Inc., 2017 WL 7726732, at *1. Moreover, it is far from

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   clear that Baquero or Morillo even could be subpoenaed: Neither the federal rules nor the

   relevant statute provides for service of a subpoena on foreign nonparties who are outside the

   United States. See FED R. CIV. P. 45(b); 28 U.S.C. 1783.

          C.      The Magistrate Judge Has Not Followed The Proper Procedure To Compel
                  The Deposition Of A Foreign Nonparty Abroad
          Baquero and Morillo are foreign nonparties who live abroad, and therefore are not subject

   to the jurisdiction of the Court. “[W]here, as here, a litigant seeks to depose a foreign non-party

   who is not subject to the court's in personam jurisdiction,” the “appropriate” procedure to compel

   the deposition is issuance of a letter of request pursuant to the Hague Convention. In re Chiquita

   Brands Int’l, 2015 WL 12601043, at *7-8 (S.D. Fla. Apr. 7, 2015) (emphasis in original). In

   stark contrast to a situation “[w]here discovery is sought from a foreign party, over whom a

   federal court has in personam jurisdiction,” and in which case “there is no rule of first resort

   requiring the discovery party to use the procedures of the Hague Convention before resorting to

   the Federal Rules of Civil Procedure,” here the Court lacks any authority to compel depositions

   of Baquero and Morillo absent use of the Convention. Id. at *8 (emphasis in original); accord

   Société Nationale Industrielle Aerospatiale v. Dist. Court for S. Dist. of Iowa, 482 U.S. 522

   (1987) (rejecting a rule of first resort to the Convention in case involving foreign defendant over

   whom the trial court had undisputed personal jurisdiction). 5 As other courts have recognized,



          5
             Although the Hague Convention may not be a rule of first resort with respect to
   depositions of parties in the United States, Venezuela and Mexico nevertheless require use of
   Hague Convention procedures for depositions there, regardless of whether the deponent
   consents. See State Dep’t, Judicial Assistance Country Information, Bolivarian Republic of
   Venezuela, available at https://travel.state.gov/content/travel/en/legal/Judicial-Assistance-
   Country-Information/VenezuelaBolivarianRepublicof.html. (“[D]epositions of willing witnesses
   in Venezuela must be undertaken pursuant to a request to the Venezuelan Central Authority and
   in the context of the Venezuelan court system.”); see also State Dep’t, Judicial Assistance
   Country Information, Mexico, available at https://travel.state.gov/content/travel/en/
   legal/Judicial-Assistance-Country-Information/Mexico.html (“Voluntary depositions of Mexican
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   when a foreign nonparty “is overseas, the procedures of the Hague Convention or other

   applicable treaty must be utilized.”     Newmarkets Partners, LLC v. Oppenheim, 2009 WL

   1447504 (S.D.N.Y. May 22, 2009) (emphasis added) (quotation marks omitted). 6

          The Magistrate Court noted that there are distinct legal frameworks in Latin America

   with respect to depositions, such that the Court may “not presum[e] to allow . . . depositions to

   take place unless the laws of those countries allow[ed] them.” Apr. 30, 2018 Hr’g. Tr. 32:13-14;

   see also id. at 30:16-20. And the Third Discovery Order expressly states that the depositions of

   Baquero and Morillo are “subject to compliance with any applicable foreign country regulations,

   if appropriate.” ECF No. 370; see also May 8, 2018 Hr’g Tr. 8:3-6 (explaining order is not “in

   any way attempting to bypass or in any fashion countermand any requirements that foreign

   nations may have with regard to conducting depositions within their jurisdictional boundaries”).

   Notwithstanding these observations, however, the Magistrate Judge purported to compel

   Baquero and Morillo’s depositions under the Federal Rules—which are inapplicable absent valid

   service or subpoena—rather than issue a letter of request—which is the proper procedure (and,

   here, the only available procedure under U.S. law and the laws of the relevant foreign nations) to

   seek the depositions of foreign nonparties.




   and third country nationals require prior permission from the Mexican Central Authority for the
   Hague Evidence Convention.”).
           6
             Even if the Hague Convention procedures were not the only available method of
   compelling testimony here, the Court would be required to engage in a balancing test to
   determine whether to proceed under the Federal Rules over the Hague Convention procedures.
   See In re Vitamins Antitrust Litig., 120 F. Supp. 2d 45, 51-55 (D.D.C. 2000). In making that
   determination, the Court “must look to considerations of comity, the relative interests of the
   parties, including the interest in avoiding abusive discovery, and the ease and efficiency of
   alternative formats for discovery.” Chiquita Brands Int’l, 2015 WL 12601043 at 7. For the
   reasons explained below, see pp. 18-20, infra (discussing burden of compelling irrelevant
   testimony by these foreign nonparties), each of these factors weighs heavily in favor of
   proceeding under the Hague Convention procedures here.

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          D. Neither The Court’s Decision To Resolve The Standing Issue Nor The Named
             Defendants’ Agreement To It Confers Jurisdiction Over Baquero Or Morillo
          The Magistrate Judge did not adequately address whether she had jurisdiction to compel

   a deposition of Baquero or Morillo, whether a subpoena was necessary, or whether she was

   required to follow the Hague Convention procedures. Instead, the Magistrate Judge ordered

   Baquero and Morillo to appear at depositions because, in her view, “[t]he agreed order

   [previously entered] provided for [Plaintiff’s counsel] to get them.” Apr. 30, 2018 Hr’g Tr. 30:

   2; see also id. at 22:13-16 (“I was operating off of an agreed document which presumed that this

   is what the parties had come to the Court with. So, I am not changing or in any way undoing

   what has been done to date.”). In specific response to Baquero and Morillo’s challenges to the

   Court’s jurisdiction to depose them, the Magistrate Judge stated that “the issue of proceeding

   with standing is something that was handed to me . . . , so I don't think that we need to revisit

   that issue. We are going forward with the standing issue ahead of the other things. That's sort of

   like a done deal from my point of view.” Id. at 21:24-22:4; see also id. at 30: 2, 13-14.

          Neither this Court’s decision to set standing as the threshold issue in the case, nor the

   named Defendants’ agreement to permit each side four depositions concerning that issue, confers

   personal jurisdiction over Baquero or Morillo that the Court otherwise lacks. As stated above,

   see note 2, supra, jurisdictional discovery must be limited to the specific jurisdictional issue

   challenged. Absent at least a genuine material dispute over Baquero and Morillo’s invalid

   service, the Court cannot compel them to engage in any jurisdictional discovery, and certainly

   cannot compel them to participate in jurisdictional discovery unrelated to their challenge of

   sufficiency of service, without trampling on each “individual’s rights” which “the rules of

   personal jurisdiction protect.” Pardazi, 896 F.2d at 1317.




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           Baquero and Morillo have not waived these rights. “By submitting to the jurisdiction of

   the court for the limited purpose of challenging jurisdiction” related to standing, Baquero and

   Morillo agreed only “to abide by th[is] court’s determination on th[at] issue of jurisdiction.” Ins.

   Corp. of Ir., Ltd. v. Compagnie des Bauxites de Guinee, 456 U.S. 694, 706 (1982) (emphasis

   added). This Court has at all times recognized that Baquero and Morillo have preserved these

   rights, even while deciding that efficient case management counseled in favor of resolving the

   standing challenge before resolving Defendants’ other defenses. See May 8, 2018 Hr’g Tr. at

   8:15-19.   Indeed, the Magistrate Judge expressly recognized that her ability to order the

   depositions of Baquero and Morillo was “subject to whatever reservation of [these] rights

   [named Defendants] want to be made.” Apr. 30, 2018 Hr’g Tr. 30: 15-16. Although Plaintiff and

   named Defendants agreed that each side would be afforded four depositions concerning

   standing, neither Baquero nor Morillo agreed that these deponents could include foreign

   nonparties who have not been validly served, subpoenaed, or compelled pursuant to the Hague

   Convention, and who have no knowledge relevant to Plaintiff’s standing. Restricting discovery

   on standing to the parties over which this Court has personal jurisdiction (and any other

   individuals who consent or whom the court may properly compel to appear) is completely

   consistent with this Court’s and the named Defendants’ agreement to resolve standing as a

   threshold issue while preserving all Rule 12 defenses, including insufficiency of service.

   II.    Depositions Of Baquero And Morillo Would Not Yield Relevant Testimony
          Apart from this Court’s lack of jurisdiction to compel the depositions of Baquero and

   Morillo, such depositions would run afoul of the Federal Rules because they would not yield

   testimony “relevant . . . and proportional to the needs” of determining whether Plaintiff has

   standing. FED. R. CIV. P. 26(b)(1); see Order, ECF, No. 251 (limiting discovery to issue of



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   standing). That is because neither Baquero nor Morillo has any knowledge bearing on the

   authorization or validity of the Trust that was established to prosecute this case.

          Plaintiff attempted to obfuscate this basic fact by alleging that depositions of Baquero

   and Morillo are proper because they “have made statements concerning the Trust and its

   operation and its authorization and formation and how it either will or should operate and

   whether it should be in existence and whether it is authorized or not.” Apr. 30, 2018 Hr’g Tr.

   24:10-13. That argument is specious. As an initial point, it is inconsistent with Plaintiff’s own

   position that information arising or learned after the date of the formation of the Trust on August

   8, 2017, has little probative value concerning the Trust’s standing. Id. at 7:20-25. Plaintiff does

   not (and cannot) contend that Baquero or Morillo were even aware of the Trust’s existence until

   this Court unsealed the complaint on March 8, 2018. Therefore, any statements Baquero or

   Morillo has made about the Trust would, by Plaintiff’s own admission, lack relevance.

   Moreover, any such statement would have been made in anticipation of litigation—considering

   that Baquero and Morillo had already been named as Defendants when they learned of the

   Trust—and are thus privileged. Contra FED. R. CIV. P. 26(b)(1) (limiting scope of discovery to

   “nonprivileged matter”).

          Notwithstanding Plaintiff’s contrived justification, it is clear that neither Baquero nor

   Morillo could offer any testimony relevant to the validity of a Trust they played no role in

   establishing and had no knowledge of prior to this suit. Baquero and Morillo are not officials of

   the Venezuelan government, nor officers, directors or board members of PDVSA or any of its

   related entities. They are not attorneys licensed to practice law in any country, nor do they have

   expertise in the field of trust establishment in New York or the authorization of trusts in

   Venezuela. As the Magistrate Judge recognized, their testimony would amount to nothing more



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   than “statements of lay people” offering speculation or unqualified opinion on Plaintiff’s

   standing. Apr. 30, 2018 Hr’g Tr. at 29:24; see also id. 30:4-5 (“[I]t sounds to me like there is not

   a lot to be obtained [from their testimony].”).

          The Magistrate Judge nonetheless ordered the depositions because “[Plaintiff’s counsel]

   seems intent to get his four depositions” and “the agreed order provided for him to get them.”

   Apr. 30, 2018 Hr’g Tr. 29:25-30:2. However, as discussed above with respect to the Court’s

   lack of jurisdiction, see pp. 15-16, supra, although the named Defendants agreed that Plaintiff

   could take four depositions, they in no way agreed that deponents could include persons with no

   knowledge relevant to standing—the only grounds for which the Court had ordered discovery.

   “While the standard of relevancy in discovery is a liberal one, it is not so liberal as to allow a

   party to roam in the shadow zones of relevancy and to explore matter which does not presently

   appear germane.” Henderson v. Holiday CVS, L.L.C., 269 F.R.D. 682, 686 (S.D. Fla. 2010)

   (citations, internal quotation marks, and alterations omitted). It is hard to square compelling

   depositions that cannot yield relevant information with the Federal Rules’ insistence on such

   relevance. See FED. R. CIV. P. 26(b)(1) (providing that court may “otherwise limit[]” scope of

   discovery, but cannot expand it to include information that is not “relevant” and “proportional”).

   III.   Depositions Of Baquero And Morillo Would Impose Undue Burden and Expense

          While Baquero and Morillo lack any knowledge relevant to Plaintiff’s authority to bring

   this lawsuit, there are several people and entities that likely do have such knowledge: the Trust,

   its trustees, its alleged assignor, and certain Venezuelan government officials. The named

   Defendants’ efforts to obtain limited discovery from these individuals and entities involved in the

   authorization of the Trust comport with Rule 26(b). Plaintiff may seek discovery from these

   same deponents or from any other person for whom Plaintiff has a good-faith basis to believe the

   prospective testimony will be relevant and proportional to the standing issue.
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          Although Plaintiff has attempted to couch its request to depose Baquero and Morillo as

   nothing more than a mirror to Defendants’ discovery, see, e.g., Apr. 25, 2018 Hr’g Tr. 54:6-12

   (seeking “statements about the authority of the Trust, authorizations and the like”), this blatant

   “‘tit for tat’ approach to litigation” lacks any legitimate basis, Acushnet Co. v. Birdie Golf Ball

   Co., 166 F.R.D. 42, 43 (S.D. Fla. 1996) (explaining that “counsel should not seek this Court's

   approval” of such an approach). Because neither Baquero nor Morillo could offer any testimony

   relevant to standing, there can be no question that “the discovery sought . . . can be obtained

   from some other source that is more convenient, less burdensome, or less expensive,”

   particularly when the factual information relevant to the Trust’s creation and validity is in the

   hands of the sources involved in establishing it, many of which are related to Plaintiff. FED. R.

   CIV. P. 26(b)(2)(C)(i); see also id. 26(b)(1) (court must weigh “parties’ relative access to relevant

   information” when determining scope and methods of discovery).

          This obvious point is made even more apparent in light of the annoyance, oppression, and

   undue burden and expense that depositions of Baquero and Morillo would impose. Because

   Baquero and Morillo reside abroad and are not subject to the jurisdiction of this Court, they may

   not be deposed outside strict compliance with the Hague Convention and local law. See pp. 13-

   15 & n.5, supra. The delay that would result from placing such burden on foreign ministries and

   judicial systems (not to mention the comity considerations implicated), and the substantial

   preparation and travel that would be necessary, cannot be justified when, as the Magistrate Judge

   noted, “there is not a lot to be obtained” from Baquero and Morillo’s testimony. Apr. 30, 2018

   Hr’g Tr. at 30:4-5. There is a lot at stake, however, beyond the instant case. Most critically,

   allegations relevant to this litigation (but wholly irrelevant to standing) are also the basis for a




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   criminal investigation in Switzerland that was evidently instigated by the Plaintiff in this case. 7

   Although Baquero and Morillo could not offer any testimony probative of Plaintiff’s standing in

   this action, any testimony they offer here would risk implicating liability in that criminal case. 8

          Notwithstanding their jurisdictional and relevancy objections, Baquero and Morillo have

   offered to answer interrogatories limited to the issue of standing. Plaintiff has refused and

   continues to insist on depositions.9 Subjecting Baquero and Morillo to depositions, even for two

   hours, would impose “annoyance, embarrassment, oppression, or undue burden or expense.”

   FED. R. CIV. P. 26(C)(1). Given that Baquero and Morillo have no knowledge relevant to

   standing, these “burden[s] [and] expense[s] of the proposed discovery outweigh[] its likely

   benefit.” Id. 26(b)(1). Because the depositions would be improper, there is good cause for this

   Court to enter an order protecting Baquero and Morillo from appearing at them.

                                             CONCLUSION

          For the foregoing reasons, this Court should set aside the parts of the Magistrate Judge’s

   Second and Third Discovery Orders compelling depositions of Baquero and Morillo and denying

   Baquero and Morillo’s motion for a protective order.




          7
             See Jamey Keaten, Swiss Arrest 2 in Alleged Oil Corruption Case, CHICAGO TRIBUNE
   (Mar. 12, 2018), available at http://www.chicagotribune.com/news/nationworld/sns-bc-eu--
   switzerland-venezuela-oil-corruption-20180312-story.html.
           8
             While the Federal Rules contemplate terminating a deposition “conducted in bad faith
   or in a manner that unreasonably annoys, embarrasses or oppresses the deponent or party,” FED.
   R. CIV. P. 30(d)(3)(A), inviting such motion practice at this stage of the litigation in connection
   with depositions of no apparent relevance would also place an unnecessary burden on the Court’s
   limited resources.
           9
             Counsel for Plaintiff represented that it would agree to written interrogatories of
   Baquero and Morillo only if all deponents were so examined. For the reasons stated herein,
   however, Baquero and Morillo are differently situated from other prospective deponents who
   have knowledge relevant to the Trust’s standing.

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   Dated: May 14, 2018              Respectfully submitted,


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                              Certificate of Good-Faith Conference;
                Conferred but Unable to Resolve the Issues Presented in the Motion

          In accordance with Local Rule 7.1(a)(3)(A), the undersigned certifies that Defendant’s

   counsel has conferred with Plaintiff’s counsel in a good-faith effort to resolve the issues raised in

   this motion, but has been unable to resolve the issues.

                                                         s/ Kimberly Ann Pathman


                                    CERTIFICATE OF SERVICE

          I certify that on May 14, 2018, I filed this document with the Clerk of Court using

   CM/ECF, which will serve this document on all counsel of record.



                                                         s/ Kimberly Ann Pathman
